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AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)

                           UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNA

 UNITED STATES OF AMERICA
                                                          Case No. EDCR19‐00125‐JGB‐2

                                                          ORDER ON MOTION FOR
 v.                                                       SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)

                                                          (COMPASSIONATE RELEASE)
 RAUL CERVANTES


        Upon motion of      the defendant      the Director of the Bureau of Prisons for a

reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable

factors provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

Sentencing Commission,

IT IS ORDERED that the motion is:

      GRANTED

            The defendant’s previously imposed sentence of imprisonment of 120 months is

reduced to TIME SERVED. If this sentence is less than the amount of time the defendant already

served, the sentence is reduced to a time served; or

            Time served.

        If the defendant’s sentence is reduced to time served:

                       This order is stayed for up to fourteen days, for the verification of the

                       defendant’s residence and/or establishment of a release plan, to make

                       appropriate travel arrangements, and to ensure the defendant’s safe

                       release. The defendant shall be released as soon as a residence is verified,

                       a release plan is established, appropriate travel arrangements are made,
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                     and it is safe for the defendant to travel. There shall be no delay in

                     ensuring travel arrangements are made. If more than fourteen days are

                     needed to make appropriate travel arrangements and ensure the

                     defendant’s safe release, the parties shall immediately notify the court and

                     show cause why the stay should be extended; or

                     There being a verified residence and an appropriate release plan in place,

                     this order is stayed for up to fourteen days to make appropriate travel

                     arrangements and to ensure the defendant’s safe release. The defendant

                     shall be released as soon as appropriate travel arrangements are made and

                     it is safe for the defendant to travel. There shall be no delay in ensuring

                     travel arrangements are made. If more than fourteen days are needed to

                     make appropriate travel arrangements and ensure the defendant’s safe

                     release, then the parties shall immediately notify the court and show cause

                     why the stay should be extended.

           The defendant must provide the complete address where the defendant will reside

      upon release to the probation office in the district where they will be released because it

      was not included in the motion for sentence reduction.

           Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term”

      of     probation or     supervised release of         months (not to exceed the unserved

      portion of the original term of imprisonment).

                  The defendant’s previously imposed conditions of supervised release apply to

              the “special term” of supervision; or

                  The conditions of the “special term” of supervision are as follows:


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             The defendant’s previously imposed conditions of supervised release are unchanged.

             The defendant’s previously imposed conditions of supervised release are modified as

          follows:

 All previous tersm and conditions of superivsed release apply, with the additional condition that
 defendant remain in home quarentine for at least 14 days upon release.

     DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the

 United States Attorney to file a response on or before        , along with all Bureau of Prisons

 records (medical, institutional, administrative) relevant to this motion.

     DENIED after complete review of the motion on the merits.

             FACTORS CONSIDERED (Optional)



             DENIED WITHOUT PREJUDICE because the defendant has not exhausted all

 administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since

 receipt of the defendant’s request by the warden of the defendant’s facility.

 IT IS SO ORDERED.

 Dated:

 October 29, 2021
                                                        Jesus G. Bernal, U.S. District Judge




cc: USPO/USM/BOP

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